                            Case 1:22-cv-03203-BAH &/(5.=62)),&(
                                                   Document 5 Filed 10/19/22 Page 1 of 1                                                                                      &2
                                                                    81,7('67$7(6',675,&7&2857                                                                             5HY
                                                                    )257+(',675,&72)&2/80%,$

                                           127,&(2)'(6,*1$7,212)5(/$7('&,9,/&$6(63(1',1*
                                                ,17+,625$1<27+(581,7('67$7(6&2857

                                                                                                                                                                     22-3203
                                                                                                                                                   &LYLO$FWLRQ1RBBBBBBBBBB
                                                                                                                                                    7REHVXSSOLHGE\WKH&OHUN

127,&(723$57,(6

          3XUVXDQWWR5XOH E  \RXDUHUHTXLUHGWRSUHSDUHDQGVXEPLWWKLVIRUPDWWKHWLPHRIILOLQJDQ\FLYLODFWLRQZKLFKLV
UHODWHGWRDQ\SHQGLQJFDVHVRUZKLFKLQYROYHVWKHVDPHSDUWLHVDQGUHODWHVWRWKHVDPHVXEMHFWPDWWHURIDQ\GLVPLVVHGUHODWHGFDVHV
7KLVIRUPPXVWEHSUHSDUHGLQVXIILFLHQWTXDQWLW\WRSURYLGHRQHFRS\IRUWKH&OHUN=VUHFRUGVRQHFRS\IRU WKH -XGJH WR ZKRP WKH
FDVHVLVDVVLJQHGDQGRQHFRS\IRUHDFKGHIHQGDQWVRWKDW\RXPXVWSUHSDUHFRSLHVIRUDRQHGHIHQGDQWFDVHFRSLHVIRUD WZR
GHIHQGDQWFDVHHWF

127,&(72'()(1'$17

        5XOH E  RIWKLV&RXUWUHTXLUHVWKDW\RXVHUYHXSRQWKHSODLQWLIIDQGILOHZLWK\RXUILUVWUHVSRQVLYHSOHDGLQJRUPRWLRQ
DQ\REMHFWLRQ\RXKDYHWRWKHUHODWHGFDVHGHVLJQDWLRQ

127,&(72$//&2816(/

          5XOH E  RIWKLV&RXUWUHTXLUHVWKDWDVVRRQDVDQDWWRUQH\IRUDSDUW\EHFRPHVDZDUHRIWKHH[LVWHQFHRIDUHODWHGFDVH
RUFDVHVVXFKDWWRUQH\VKDOOLPPHGLDWHO\QRWLI\LQZULWLQJWKH-XGJHVRQZKRVHFDOHQGDUVWKHFDVHVDSSHDUDQGVKDOOVHUYHVXFKQRWLFH
RQFRXQVHOIRUDOORWKHUSDUWLHV
                                                            BBBBBBBBBBBBBBB

7KHSODLQWLIIGHIHQGDQWRUFRXQVHOPXVWFRPSOHWHWKHIROORZLQJ

,        5(/$7,216+,32)1(:&$6(723(1',1*5(/$7('&$6( 6 

          $QHZFDVHLVGHHPHGUHODWHGWRDFDVHSHQGLQJLQWKLVRUDQRWKHU86&RXUWLIWKHQHZFDVH>&KHFNDSSURSULDWHER[ H=V
          EHORZ@

                            D           UHODWHVWRFRPPRQSURSHUW\

                  ✘         E           LQYROYHVFRPPRQLVVXHVRIIDFW

                  ✘         F           JURZVRXWRIWKHVDPHHYHQWRUWUDQVDFWLRQ

                            G           LQYROYHVWKHYDOLGLW\RULQIULQJHPHQWRIWKHVDPHSDWHQW

                            H           LVILOHGE\WKHVDPHSURVHOLWLJDQW

        5(/$7,216+,32)1(:&$6(72',60,66('5(/$7('&$6( (6

          $QHZFDVHLVGHHPHGUHODWHGWRDFDVHGLVPLVVHGZLWKRUZLWKRXWSUHMXGLFHLQWKLVRUDQ\RWKHU86&RXUWLIWKHQHZFDVH
          LQYROYHVWKHVDPHSDUWLHVDQGVDPHVXEMHFWPDWWHU

          &KHFNER[LIQHZFDVHLVUHODWHGWRDGLVPLVVHGFDVH

        1$0(7+(81,7('67$7(6&2857,1:+,&+7+(5(/$7('&$6(,6),/(' ,)27+(57+$17+,6
          &2857 
                                   N/A
        &$37,21$1'&$6(180%(52)5(/$7('&$6( (=6 ,)025(5220,61(('3/($6(86(27+(56,'(

                                                  UNITED STATES                               HARMON, Crim. No. 19-0395 (BAH)
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               10/19/2022                                           /s/ Brian P. Hudak, Civil Chief, U.S.                                 Attorney's Office
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